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10                                  UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12   DANIEL MATERA and SUSAN                     Case No. 5:15-CV-04062 LHK
     RASHKIS, as individuals, and on behalf of
13   other persons similarly situated,           ORDER GRANTING IN PART AND
                                                 DENYING IN PART PLAINTIFFS’
14                    Plaintiffs,                MOTION FOR AN AWARD OF
                                                 ATTORNEYS’ FEES AND COSTS AND
15   v.                                          SERVICE AWARDS

16   GOOGLE LLC,

17                    Defendant.

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 1           Having reviewed the Plaintiffs’ Motion for an Award of Attorneys’ Fees and Costs and

 2   Service Awards and the documents submitted in support thereof, the arguments at the February 8,

 3   2018 hearing, the supplemental declarations filed on February 8 and 9, 2018, and the record in

 4   this case, the Court now FINDS, CONCLUDES, and ORDERS as follows:

 5           1.     Plaintiff Daniel Matera, on behalf of himself and those similarly situated,

 6   commenced this action (the “Action”) on September 4, 2015. (ECF No. 1). The Complaint

 7   alleged that Google’s practices of intercepting, extracting, reading, and using the email contents

 8   of individuals who do not have email accounts with Google (“non-Gmail” users)—but who

 9   exchange email messages with Gmail accountholders—violated the California Invasion of

10   Privacy Act, Cal. Pen. Code §§ 630, et seq. (“CIPA”) and the Electronic Communications Privacy

11   Act, 18 U.S.C. §§ 2510, et seq. (“ECPA”).

12           2.     On October 29, 2015, Google concurrently filed a Motion to Dismiss the

13   Complaint (ECF No. 20) and a Motion to Stay (ECF No. 21) in light of the Supreme Court’s

14   then-pending opinion in Spokeo v. Robins, 136 S. Ct. 1540 (2016) (“Spokeo”). In response, on

15   December 4, 2015, Plaintiffs filed an Opposition to Google’s Motion to Dismiss (ECF No. 29)

16   and an Opposition to Google’s Motion to Stay (ECF No. 30). The Court granted Google’s Motion

17   to Stay on February 5, 2016. (ECF No. 36). Following the issuance of the Spokeo opinion on

18   May 16, 2016, the parties provided additional, supplemental briefing on the opinion’s impact, if

19   any, on Plaintiff Matera’s Article III standing (ECF Nos. 41-42, 45-46).

20           3.     On August 12, 2016, the Court issued an Order Denying Google’s Motion to
21   Dismiss as to the Merits of Plaintiff’s Claims (ECF No. 49). Separately, on September 23, 2016,

22   the Court issued an Order Granting in Part and Denying in Part Defendant’s Motion to Dismiss

23   Based on Lack of Standing (ECF No. 54), which granted, with prejudice, Google’s motion to

24   dismiss Plaintiff Matera’s claim for an injunction as it relates to Google Apps for Education,1 but

25   denied the remainder of Google’s motion.
     1
26    Plaintiffs initially challenged scanning practices associated with each of Google’s email
     platforms: Gmail, Google Apps for Education, and Google Apps for Business. See, Complaint
27   (ECF No. 1). The Court determined that “Google ceased intercepting and scanning, for
     advertising purposes, the contents of emails processed via Google Apps for Education” (ECF No.
28   54 at 27). In addition, although the Court denied Google’s motion as it relates to Google Apps
                                                                        Footnote continued on next page
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 1          4.      Subsequently, on October 17, 2016, Plaintiff Matera filed an Amended Complaint

 2   (ECF No. 58), adding additional Named Plaintiff Susan Rashkis, eliminating allegations

 3   pertaining to Google Apps for Education and Google Apps for Work, and refining and clarifying

 4   allegations relating to technical aspects of Google’s challenged practices. On October 21, 2016,

 5   Google filed its Answer to the Amended Complaint (ECF No. 59).

 6          5.      The parties participated in mediations before mediator, Randall Wulff on August

 7   31, 2016 and November 4, 2016. Those mediations resulted in a proposed settlement, executed

 8   on November 22, 2016, for which a Motion for Preliminary Approval was filed on December 13,

 9   2016 (ECF No. 62), and which the Court denied approval of on March 16, 2017 (ECF No. 71).

10   The parties then resumed both the Action and parallel settlement discussions, resulting in a

11   second proposed settlement, which was executed on July 21, 2017 and for which a Motion for

12   Preliminary Approval was filed on the same day (ECF No. 79). The Court granted preliminary

13   approval to this settlement on August 31, 2017 and ordered that Class Counsel file an application

14   for attorneys’ fees on or before October 30, 2017 (ECF No. 89).

15          6.      Plaintiffs have now filed their Motion for an Award of Attorneys’ Fees and Costs

16   and Service Awards (“Fee Motion”), supported by the joint declaration of Class Counsel Michael

17   Sobol, Hank Bates, and Ray Gallo (“Joint Declaration”), which attaches as exhibits summaries of

18   Class Counsel’s hours billed, hourly rates, and costs incurred, as well as declarations from each

19   Class Representative attesting to their respective participation in this Action. The Court

20   addresses, in turn, the appropriateness of the attorneys’ fees, costs, and service awards sought.
21          7.      In a class action settlement, a court may award reasonable attorneys’ fees and costs

22   as authorized by law or by the parties’ agreement. See Fed. R. Civ. P. 23(h); see also Hendricks v.

23   Starkist Co., No. 13-cv-00729-HSG, 2016 U.S. Dist. LEXIS 134872, at *34 (N.D. Cal. Sept. 29,

24   2016) (stating a court has the power to award reasonable attorneys’ fees and costs where “a

25

26   Footnote continued from previous page
     for Work, the Court noted that “the Court has learned that Google publicly represents that Google
27   no longer intercepts, scan and analyzes for advertising purposes emails transmitted via Google
     Apps for Work” (id. at 32). Consequently, as noted above, the Amended Complaint eliminated
28   allegations related to Google Apps for Education and Google Apps for Work.
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 1   litigant proceeding in a representative capacity secures a ‘substantial benefit’ for a class of

 2   persons.”).

 3           8.      ECPA provides for an award of reasonable attorneys’ fees and costs. See 18 U.S.C.

 4   § 2520(b)(3) (providing that appropriate relief includes “a reasonable attorney’s fee and other

 5   litigation costs reasonably incurred.”). In addition, in light of the CIPA claim, the requested

 6   attorneys’ fees are authorized in this Action pursuant to California’s “private attorney general”

 7   statute, which provides for an award of attorneys’ fees “to a successful party against one or more

 8   opposing parties in any action which has resulted in the enforcement of an important right

 9   affecting the public interest if . . . a significant benefit, whether pecuniary or nonpecuniary, has

10   been conferred on the general public or a large class of persons. . . .” See Cal. Civ. Proc. Code §

11   1021.5; Serrano v. Unruh, 652 P.2d 985, 991 (Cal. 1982) (explaining that such an award

12   advances “the policy of encouraging private actions to vindicate important rights affecting the

13   public interest”).

14           9.      “Under Ninth Circuit law, the district court has discretion in [class settlement]

15   cases to choose either the percentage-of-the-fund or the lodestar method.” Vizcaino v. Microsoft

16   Corp., 290 F.3d 1043, 1047 (9th Cir. 2002). While courts often rely on the percentage method

17   where a settlement creates a common fund, they rely on the lodestar method where—as here—the

18   fees are being paid separately from the class relief and the relief is injunctive and thus not readily

19   quantifiable. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1998); see also In re Toys

20   “R” Us FACTA Litig., 295 F.R.D. 438, 460 (C.D. Cal. 2014).
21           10.     Under the lodestar method, a “lodestar figure is calculated by multiplying the

22   number of hours the prevailing party reasonably expended on the litigation (as supported by

23   adequate documentation) by a reasonable hourly rate for the region and for the experience of the

24   lawyer.” In re Bluetooth Headset Liab. Litig., 654 F.3d 935, 941 (9th Cir. 2011) (citing Staton v.

25   Boeing Co., 327 F.3d 938, 965 (9th Cir. 2003)). The district court may adjust this lodestar figure

26   “upward or downward by an appropriate positive or negative multiplier reflecting a host of
27   reasonableness factors.” Id. at 941–42 (citations and internal quotation marks omitted). These

28   factors include “the quality of representation, the benefit obtained for the class, the complexity
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 1   and novelty of the issues presented, and the risk of nonpayment.’” Id. at 942 (quoting Hanlon v.

 2   Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1998)).

 3          11.     Here, Class Counsel seek $2,200,000 in attorneys’ fees along with reimbursement

 4   of $51,421.93 in costs and $2,000 in incentive awards for each of the two Class representatives.

 5   Class Counsel contend that their lodestar is $2,062,439.50 and that their multiplier is 1.07. The

 6   Court will assess the appropriateness of this multiplier below, in the context of the factors set

 7   forth in In re Bluetooth.

 8          A.      Quality of Representation and Benefit Obtained for the Class
 9          12.     Pursuant to the Settlement, Google shall provide the following benefits to Class

10   Members:

11          Stipulated Injunction. For a period of three years commencing one-hundred eighty (180)

12   days after the date of the Final Judgment (the “Relevant Period”), Google shall be bound by the

13   Stipulated Injunction set forth in the Settlement. Under the terms of the Stipulated Injunction,

14   Google shall make technical changes such that:

15          For incoming email sent to a Gmail account, Google will cease all processing of email

16   content that it applies prior to the point when the Gmail user can retrieve the email in his or her

17   mailbox using the Gmail interface (“pre-delivery processing”) and that is used for Advertising

18   Purposes, as that term is defined in the Settlement. No information resulting from pre-delivery

19   processing of email content will be used for any Advertising Purpose. In addition, information

20   from pre-delivery processing of email content that occurred before the date of this Agreement or
21   that occurs before the Stipulated Injunction goes into effect will not be used for Advertising

22   Purposes once the Stipulated Injunction commences. Google agrees to refrain from all such

23   activity described in this section (Section 40(a) of the Settlement) for the Relevant Period. These

24   technical changes and commitments shall apply to all incoming email sent to Gmail users in the

25   United States. For outgoing email sent from a Gmail account, Google will refrain from all

26   processing of email content prior to the point when the Gmail user can retrieve the outgoing email
27   in his or her mailbox using the Gmail interface (“outbound processing”) that is used for

28   Advertising Purposes, and from using information from outbound processing of email content for
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 1   any Advertising Purpose. Google agrees to refrain from all such activity for the Relevant Period.

 2   These technical changes and commitments shall apply to all outgoing emails sent by Gmail users

 3   in the United States.

 4          13.     At the February 8, 2018 hearing on the motion for final approval of class action

 5   settlement, Google’s counsel represented that Google had already implemented the technical

 6   changes and thus the Stipulated Injunction would be in effect for three years and 180 days after

 7   the Final Judgment.

 8          14.     Pursuant to the Settlement, if Google’s new email architecture described above

 9   becomes outdated and must be improved or replaced during the pendency of the injunction, then

10   Google may change its system design in a manner that will continue to comply with the

11   requirements of the injunction above.

12          15.     In the Settlement, Google represented that it has no present intention of

13   eliminating the technical changes after expiration of the term of the injunction. Settlement

14   Section 40(d). Moreover, about three months after the Court denied preliminary approval of the

15   parties’ first class action settlement on March 15, 2017, Google announced on June 23, 2017 that

16   it would no longer scan the content of Gmail emails for targeted advertising. Brian Fung, “Gmail

17   will no longer snoop on your emails for advertising purposes,” Washington Post, June 26, 2017.

18          16.     Additionally, because the Settlement only contemplates injunctive relief, no Class

19   Member (with the exception of the Class Representatives) releases his or her rights to seek

20   monetary damages from Google.
21          17.     In prosecuting this Action, Class Counsel reviewed and analyzed more than

22   233,000 pages of documents produced by Google, analyzed deposition testimony from key

23   Google employees from other litigation, and took the depositions of Google employees to ensure

24   that the Settlement’s terms fully addressed Google’s current practices. Class Counsel also

25   successfully opposed Google’s motion to dismiss, both on the merits and as to standing under

26   Spokeo, and participated in months-long negotiations that included two separate mediation
27   sessions. Accordingly, the Court finds that the quality of representation and the benefit obtained

28   for the class weighs in favor of Class Counsel’s fee request.
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 1          B.      Complexity and Novelty of the Issues Involved

 2          18.     In terms of both complexity and novelty, this Action required applying the law to

 3   highly-sophisticated, highly-technical fact patterns, addressing questions such as, inter alia,

 4   whether discrete acts of processing occur within the “ordinary course of business” or whether the

 5   Google’s message scanning occurs “in transit” in the milliseconds taken to move an email from

 6   sender to recipient. Beyond the technical novelty and sophistication of the issues contemplated in

 7   this Action, this Action also required the litigation of standing under statutorily-codified privacy

 8   rights following the Supreme Court’s opinion in Spokeo v. Robins, 136 S. Ct. 1540 (2016). See,

 9   e.g. (ECF Nos. 41, 42, 45, 46). Accordingly, the complexity and novelty of issues In re Bluetooth

10   factor weighs in Class Counsel’s favor.

11          C.      Risk of Nonpayment

12          19.     In taking this matter on a contingent basis, Class Counsel assumed considerable

13   risk. Class Counsel advanced all of the costs of litigation and of attorney and paralegal time. In

14   light of these facts, the Court finds that the risk of nonpayment weighs in favor of Class

15   Counsel’s fee request.

16          D.      Application of the Lodestar Method Demonstrates the Reasonableness of the
                    Requested Fee
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18          20.     The Ninth Circuit recently reconfirmed that “[t]here is a strong presumption that

19   the lodestar figure represents a reasonable fee.” Rodriguez v. W. Publ'g Corp., 602 F. App'x 385,

20   387 (9th Cir. 2015). “Only in rare or exceptional cases will an attorney’s reasonable expenditure

21   of time on a case not be commensurate with the fees to which he is entitled.” Cunningham v.

22   County of Los Angeles, 879 F.2d 481, 488 (9th Cir. 1988) (emphasis omitted). Lodestar is

23   calculated by multiplying the number of hours reasonably expended on the litigation by a

24   reasonable hourly rate. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983); Paul, Johnson, Alston &

25   Hunt v. Graulty, 886 F.2d 268, 272 (9th Cir. 1989). As this figure approximates the market value

26   of the legal services, it “‘presumptively provides an accurate measure of reasonable attorney’s

27   fees.’” In re Toys “R” Us, 295 F.R.D. at 460, (quoting Harris v. Marhoefer, 24 F.3d 16, 18 (9th

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 1   Cir. 1994)); Guam Soc’y of Obstetricians & Gynecologists v. Ada, 100 F.3d 691, 696 (9th Cir.

 2   1996).

 3            21.   The Joint Declaration of Class Counsel states that a total of 4,064.50 hours were

 4   expended by 19 billers for a lodestar of $2,062,439.50. The Court approves the hourly rates for

 5   all billers except Richard Anthony at Lieff Cabraser Heimann & Bernstein, LLP (“Lieff

 6   Cabraser”) and Justin Craig at Carney Bates & Pulliam, PLLC (“Carney Bates”).

 7            22.   The Court notes that on August 18, 2017, Chief Judge Phyllis Hamilton approved

 8   Mr. Anthony’s hourly rate of $345 for research and litigation support in Campbell v. Facebook,

 9   Case No. 13-CV-05996-PJH, ECF No. 238-1 and 253. Although Class Counsel contend that Mr.

10   Anthony’s role transitioned from Paralegal-Research Department to Litigation Support in 2016,

11   ECF No. 100, Class Counsel still requested a $345 hourly rate for Mr. Anthony in their

12   application for attorney’s fees in the Campbell case on May 26, 2017, ECF No. 238-1, which as

13   stated above was approved on August 18, 2017, ECF No. 253. For the other Lieff Cabraser

14   billers in the Campbell case and in the instant case, Class Counsel request the same hourly rates

15   in both cases. Class Counsel in the instant case have not provided sufficient support for the

16   increase in Mr. Anthony’s hourly rate to $375 as requested in the instant case. Therefore, Mr.

17   Anthony’s hourly rate will be approved at $345. Mr. Anthony only billed 12 hours in the instant

18   case, ECF No. 97-1; thus, the lower hourly rate reduces the lodestar only by $360.

19            23.   Similarly, the Court notes that on August 18, 2017, Chief Judge Phyllis Hamilton

20   approved Carney Bates associate Justin Craig’s hourly rate of $375 in Campbell v. Facebook,
21   Case No. 13-CV-05996-PJH, ECF No. 238-1 and 253. For the other Carney Bates billers in the

22   Campbell case and in the instant case, Class Counsel request the same hourly rates in both cases.

23   However, in the instant case Class Counsel request that Mr. Craig, who graduated from the

24   University of Arkansas at Little Rock in 2014 and practices in Little Rock, Arkansas be

25   compensated at an hourly rate of $395. Class Counsel request this same hourly rate of $395 for

26   Carney Bates associates Kristin Brown and David Slade, who both graduated from the University
27   of Arkansas, Little Rock in 2013 and have an additional year of legal experience. Class Counsel

28   in the instant case have not provided sufficient support for the increase in Mr. Craig’s hourly rate
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 1   to $395 as requested in the instant case. Therefore, Mr. Craig’s hourly rate will be approved at

 2   $375. Mr. Craig only billed 20.60 hours in the instant case, ECF No. 97-1; thus, the lower hourly

 3   rate reduces the lodestar only by $412.

 4          24.     Accordingly, the Court finds that Plaintiffs’ lodestar is $2,061,667.50 and the

 5   multiplier is 1.067.

 6          E.      The Requested Fee Represents a Multiplier Well Within the Range of
                    Reasonableness in the Ninth Circuit and Within This District
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 8          25.     With the above reduction, Class Counsel seek a multiplier of 1.067 on their

 9   lodestar of $2,061,667.50, for a total of $2,200,000 in attorneys’ fees. For the purpose of

10   awarding Class Counsel a reasonable fee, the lodestar may be adjusted in light of the (1) results

11   obtained, (2) novelty and complexity of the questions presented, (3) skill exhibited by counsel, (4)

12   preclusion of other legal work because of counsel’s acceptance and prosecution of the case, and

13   (5) risk of nonpayment. Hanlon, 150 F.3d 1011, 1029 (9th Cir. 1998); Kerr v. Screen Extras

14   Guild, Inc., 526 F.2d 67, 70 (9th Cir. 1975); Ketchum v. Moses, 24 Cal.4th 1122, 1132, 17 P.3d

15   735, 741 (Cal. 2001). The Ninth Circuit recently held that a district court “must apply a risk

16   multiplier to the lodestar ‘when (1) attorneys take a case with the expectation they will receive a

17   risk enhancement if they prevail, (2) their hourly rate does not reflect that risk, and (3) there is

18   evidence the case was risky.’ Failure to apply a risk multiplier in cases that meet these criteria is

19   an abuse of discretion.” Stetson v. Grissom, 821 F.3d 1157, 1166 (9th Cir. 2016) (emphasis in

20   original). Each of these three factors is present here—Class Counsel anticipated a risk multiplier
21   upon commencement of this action; the hourly rates utilized in the lodestar calculation include no

22   risk multiplier but are simply regional market rates; and this case posed heightened risks due to

23   the application of novel legal issues in a highly technical context.

24          26.     In Vizcaino v. Microsoft Corp., the Ninth Circuit conducted a survey of attorneys’

25   fees awards in cases ranging from $50 to 200 million between 1996 and 2001. 290 F.3d 1043,

26   1052–54 (9th Cir. 2002). In the vast majority of cases (20 of 24, or 83%), the multiplier ranged
27   from 1.0–4.0. Id. Here, Class Counsel seek a 1.067 multiplier of their $2,061,667.50 lodestar, for

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 1   a total of $2,200,000 in fees. This multiplier of 1.067, in the bottom of Vizcaino’s continuum, is

 2   within the range of reasonableness of multipliers.

 3          F.      Class Counsel’s Litigation Expenses Were Reasonably Incurred in
                    Furtherance of the Prosecution of the Claims, and Should be Awarded
 4

 5          27.     Class Counsel also request reimbursement for out-of-pocket expenses incurred to

 6   prosecute this class action. Class Counsel state that these expenses were incidental and necessary

 7   to the effective representation of the Class. See, e.g., In re Media Vision Tech. Sec. Litig., 913 F.

 8   Supp. 1362, 1366 (N.D. Cal. 1996). The Court agrees. Class Counsel incurred $51,421.93 in

 9   unreimbursed out-of-pocket costs over the course of this litigation, which included, inter alia,

10   travel for depositions and hearings, deposition transcripts, mediation fees, legal research, postage,

11   and other customary litigation expenses. As detailed in Class Counsel’s Joint Declaration, these

12   costs were reasonably incurred in furtherance of the investigation, prosecution, and Settlement of

13   the Action and should be reimbursed. See In re Toys “R” Us FACTA Litig., 295 F.R.D. at 469.

14          G.      The Requested Service Awards Are Reasonable and Should Be Approved
15          28.     As the Ninth Circuit has recognized, “named plaintiffs, as opposed to designated

16   class members who are not named plaintiffs, are eligible for reasonable incentive payments.”

17   Staton, 327 F.3d at 977. Such awards are “intended to compensate class representatives for work

18   done on behalf of the class [and] make up for financial or reputational risk undertaken in bringing

19   the action.” Rodriguez v. West Publishing Corp., 563 F.3d 948, 958 (9th Cir. 2009). Class

20   Counsel seek service awards of $2,000 for each Class Representative. In this District, service
21   awards in the amount of $5,000 per class representative are “presumptively reasonable.” In re

22   LinkedIn User Privacy Litig., 309 F.R.D. 573, 592 (N.D. Cal. 2015); Dyer v. Wells Fargo Bank,

23   N.A., 303 F.R.D. 326, 335 (N.D. Cal. 2014); Faigman v. AT & T Mobility LLC, No. 06-cv-04622-

24   MHP, 2011 WL 672648, at *5 (N.D. Cal. Feb. 16, 2011).

25          29.     The requested service awards are well justified under the circumstances. The

26   Class Representatives actively participated in this Action, investing substantial time over the past
27   two years in collaborating and communicating with Class Counsel, monitoring the litigation and

28   reviewing case filings and other pertinent documents, as described in Class Counsel’s moving
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 1   papers and in Declarations by the Class Representatives. Further, in advocating for the privacy

 2   rights of the Class, the Class Representatives were willing to risk a level of public exposure that is

 3   attendant with litigation. In so doing, the Class Representatives achieved a significant result for

 4   members of the Class. Accordingly, having considered the time and effort expended by the Class

 5   Representatives, as well as the result achieved for the Class, the Court concludes that the

 6   requested service award of $2,000 for each Class Representative is reasonable.

 7          30.     It is therefore ORDERED that Class Counsel be awarded $2,200,000 in reasonable

 8   attorneys’ fees and $51,421.93 in costs, and that Class Representatives Daniel Matera and Susan

 9   Rashkis will each receive $2,000 service awards, in accordance with the Settlement Agreement.

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11   IT IS SO ORDERED.

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13   Dated: February 9, 2018
                                                   HONORABLE LUCY H. KOH
14                                                 UNITED STATES DISTRICT JUDGE
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                                                                                      OF ATTORNEYS’ FEES
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